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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                   )
 NILAB RAHYAR TOLTON, et al.,                      )
                                                   )
                Plaintiffs,                        )
                                                   )             Civ. No. 1:19-00945 (RDM)
 v.                                                )
                                                   )
 JONES DAY,                                        )
                                                   )
                Defendant.                         )
                                                   )

                              NOTICE OF VOLUNTARY DISMISSAL

       WHEREAS, on December 21, 2020, the Parties stipulated to the voluntary withdrawal of

a number of claims in this action and outlined those claims that remained pending in this action;

       NOW THEREFORE, Plaintiffs Nilab Rahyar Tolton, Andrea Mazingo, Meredith

Williams, Jaclyn Stahl, and Saira Draper hereby dismiss all of their remaining claims in this

lawsuit with prejudice, and waive any and all rights to appeal. The PAGA claims of any and all

individuals similarly situated to Plaintiffs Tolton and Mazingo shall be dismissed without

prejudice. The parties shall bear their own respective attorneys’ fees and costs.

 Date: March 11, 2021                         SANFORD HEISLER SHARP, LLP

                                              /s/ Deborah K. Marcuse
                                              Deborah K. Marcuse (DC Bar No. 995380)
                                              Clare J. Horan (pro hac vice granted)
                                              Whittney Barth (DC Bar No. MD0124)
                                              SANFORD HEISLER SHARP, LLP
                                              111 S. Calvert Street, Ste. 1950
                                              Baltimore, MD 21202
                                              Telephone: (410) 834-7415
                                              Facsimile: (410) 834-7425
                                              dmarcuse@sanfordheisler.com
                                              choran@sanfordheisler.com
                                              wbarth@sanfordheisler.com
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                            Kate Mueting (DC Bar No. 988177)
                            SANFORD HEISLER SHARP, LLP
                            700 Pennsylvania Avenue, SE, Ste 300
                            Washington, D.C. 20003
                            Telephone: (202) 499-5206
                            Facsimile: (202) 499-5199
                            kmueting@sanfordheisler.com

                            David W. Sanford (DC Bar No. 457933)
                            Russell L. Kornblith (pro hac vice granted)
                            Kate MacMullin (pro hac vice granted)
                            SANFORD HEISLER SHARP, LLP
                            1350 Avenue of the Americas, 31st Floor
                            New York, NY 10019
                            Telephone: (646) 402-5650
                            Facsimile: (646) 402-5651
                            dsanford@sanfordheisler.com
                            rkornblith@sanfordheisler.com
                            kmacmullin@sanfordheisler.com

                            Counsel for Plaintiffs




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